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                Exhibit A
Electronically FILED by Superior Court of California, County of Los Angeles on 12/03/2019 01:40 PM Sherri R. Carter, Executive Officer/Clerk of Court, by C. Monroe,Deputy Clerk
                  Case 2:20-cv-05202-JFW-PVC Document 1-2 Filed 06/11/20 Page 2 of 17 Page ID #:12
                                                  19STCV43398
                                                                                                                                                                                   -'l
                                                   SUMMONS
                                               (ctTActoN JUDtoTAL)                                                                              FOR COURT USE ONLY
                                                                                                                                            (soLo PARA USO DE LA CORTE)

          NOTICE TO DEFENDANT: TYLER CLEMENTI                                       FoUNDATIoN;              JOHN
          (AVISO AL DEMANDADO):                       RoE; and, DOES 1-50,




           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTA DEMANDANDO EL DEMANDANTE):
           JOHN DOE/ an individual;


            NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
            below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
            case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
            Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. lf you cannot pay the filing fee, ask
            the court clerk for a fee waiver form. lf you do not file your response on time, you may lose the case by default, and your wages, money, and property
            may be taken without further warning from the court.
               There are other legal requirements. You may want to call an attorney right away. lf you do not know an attorney, you may want to call an attorney
            referral service. lf you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
            (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
            costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
           iAVISO! Lohandemandado. Si norespondedentrode30dias, lacortepuededecidirensucontraslnescucharsuversi6n.Lealainformaci6na
           continuaci6n
             Tiene 30 D|AS DE CALENDARTO despu6s de que te entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
           corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefonica no lo protegen Su respuesla por escrito tiene que estar
           en formato legal correcto sl desea que procesen su caso en Ia corte. Es poslb/e que haya un formulario que usted pueda usar para su respuesta.
           Puede encontrar estos formularios de la corte y m6s informaci6n en el Centro de Ayuda de /as Corles de California (www.sucorte.ca.gov), en la
           biblioteca de leyes de su condado o en la corle que le quede mds cerca. Si no puede pagar Ia cuota de presentaci6n, pida al secretario de la corte
           que le d6 un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y Ia corte le
           podrd quitar su sueldo, dinero y bienes sin mAs advertencia.
             Hay otros requisilos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
           remisi6n a abogados. Si no puede pagar a un abogado, es poslb/e que cumpla con los requisitos para obtener servicios legales gratuitos de un
           programa de servicios legales srn flnes de lucro, Puede encontrar eslos grupos sin fines de lucro en el sitio web de California Legal Serylces,
           (www.lawhelpcalifornia.org,), en el Centro de Ayuda de /as Cortes de California, (www.sucorte.ca.gov) o poni6ndose en contacto con la corte o el
           colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y /os costos exentos por imponer un gravamen sobre
           cualquier recuperaci6n de $10,000 o mds de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
           pagar el qravamen de la cofte antes de que la corte pueda desechar el caso.
             e name an       rCSS     e cou S                                                                                 CASE NUMBER:
          (El nombre y direcci6n de la corte es):                                                                             (NAmero del Caso):

         STANLEY MOSK COURTHOUSE
         111 N. Hill Street
         111 N. Hitl Street
         Los Angeles, CA 90012
         The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
         (El nombre, la direccion y el n1mero de tel1fono del abogado del demandante, o del demandante que no tiene abogado, es):
         Michael W. Parks, Esq.                                                                                       (B1B) 4 64-506!                  (B1B) 464-509I
         SCHIMMEL AND PARKS/ APCL
         15303 Ventura Blvd. Suite                               650
         Sherman Oaks, CA 91403
          DATE;                                                              Clerk, by                                                                                    , Deputy
          (Fecha)                                                            (Secretario)                                                                                   (Adiunto)
         (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
         (Para prueba de entrega de esfa citation use el formulario Ptoof of Service of Summons, (POS-010)).
                                           NOTICE TO THE PERSON SERVED: You are served
           tsEALl                         1        as an individual defendant.
                                          2        as the person sued under the flctitious name of (specify)



                                                       under:     E      CCP 41 6.1 0 (corporation)                                     CCP 416.60 (minor)
                                                                         CCP 416.20 (defunct corporation)                               CCP 41 6.7 0 (conservatee)
                                                                         CCP 416.40 (association or partnership)                        CCP 416.90 (authorized person)
                                                                         olher (specif):
                                                  4                       nal            on                                                                                        lofl
          Form Adopted for Mandatory Use
            Judicial Council of California
                                                                                       SUMMONS                                                      Code of Civil Procedure SS 412.20,465

           SUM-100 [Rev. July 1, 2009]
Electronically FILED by Superior Court of California, County of Los Angeles on 12/03/2019 01:40 PM Sherri R. Carter, Executive Officer/Clerk of Court, by C. Monroe,Deputy Clerk
                  Case 2:20-cv-05202-JFW-PVC Document 1-2 Filed 06/11/20 Page 3 of 17 Page ID #:13
                                                  19STCV43398
                                        Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Stephen Goorvitch




                        1     Alan L Schimmel, Esq. SBN 101328
                              Michael W. Parks, Esq. SBN 154531
                       2      Arya Rhodes, Esq. SBN 299390
                              SCHIMMEL & PARKS, APLC
                        J     15303 Ventura Blvd., Suite 650
                              Sherman Oaks, CA 91403
                       4      Telephone: 8 1 8.464.506 1
                              Facsimile: 8 1 8.464.5091
                        5
                              Attorneys for PLAINTIFF
                       6

                       7

                       8                            SUPERIOR COURT OF THE STATE OF CALIFORNIA

                       9                                          FOR THE COUNTY OF LOS ANGELES

                      i0
                      11      JOHN DOE, an individual;                                                 Case No

                      T2
                                                                                                       COMPLAINT
                      13                                                    Plaintiff,
                      l4      VS                                                                      (1) BATTERY;
                                                                                                      (2) ASSAULT;
                      15                                                                              (3) SEXUAL BATTERY;
                              TYLER CLEMENTI FOUNDATION;                                              (4) FALSE IMPRISONMENT;
                      16      JOHN ROE; and, DOES 1-50,                                               (5) INTENTIONAL TNFLTCTTON                               OF
                                                                                                              EMOTIONAL DISTRESS;
                      I7                                                                              (6)    NEGLTGENCE

                     18                                                     Defendants.

                     T9
                                                                                                      DEMAND FOR JURY TRIAL
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                                                                                             COMPLAINT
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   1               COMES NOW, Plaintiff JOHN DOE, an individual, ("PLAINTIFF"), for his causes

   2    of   action against Defendants JOHN ROE and TYLER CLEMENTI FOTINDATION
   J^   ("DEFENDANTS"), including DOES 1 through 50, inclusive, and alleges and complains              as

   4    follows:

   5                                   JURISDICTION AND VENUE
   6               1.    This Court has jurisdiction over this action pursuant to the California
   l    Constitution, Article VI, Section 10, which grants the superior court "original jurisdiction" in

   8    all other causes" except those given by statute to other courts. The statutes under which this

   9    action is brought do not specify any other basis for jurisdiction.

  10               2.    This Court has jurisdiction over DEFENDANTS because, upon information

  11    and belief, DEFENDANTS have sufficient minimum contacts              in California, or otherwise
  12    intentionally avails itself of the California market so as to render the exercise of jurisdiction

  13    over it by the California courts consistent with traditional notions of fair play and substantial

  I4    justice.

  15               3.    Venue is proper in this Court because the acts and omissions giving rise to

  I6    this action alleged herein relating to PLAINTIFF began and took place in the State of
  17    California, and the County of Los Angeles.

  18                                               PARTIES

  I9               4.    PLAINTIFF incorporates by reference the allegations set for in Paragraphs      1



 20     through 3 above as though fully set forth herein.

 2I                5.    PLAINTIFF is an individual and resident of the County of Los Angeles.
 22     PLAINTIFF was an actor and photographer, and has been employed throughout the Greater

 23     Los Angeles area. He has been involved in several businesses and organizations in the

 24     Greater Los Angeles Area.

 25                6.    On information and belief, DEFENDANT TYLER CLEMENTI

 26     FOUNDATION is a 501(c)(3) non-profit organization.
 21

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                                                  COMPLAINT
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   1           7.      On information and beliei DEFENDANT JOHN ROE is a resident of

   2   Taylorsville, North Carolina. PLAINTIFF is aware of JOHN ROE's name, however to
   a
   J   protect the identity of PLAINTIFF and PLAINTIFF's privacy, DEFENDANT JOHN ROE is

   4   being identified in this complaint under that fictitious designation.

   5           8.      At all times herein relevant, DEFENDANTS         and DOES   I   through 50, and

   6   each   of them, were the agents, partners, joint venturers, joint employers,    representatives,

   7   servants, employees, successors-in-interest, alter egos, co-conspirators and assigns, each    of
   8   the other, and at all times relevant hereto were acting with the authority and ratification of

   9   one another and within the course and scope of their authority as such agents, partners, joint

  10   venturers, representatives, servants, employees, successors, co-conspirators and/or assigns,

  11   alter egoes, and all acts or omissions alleged herein were duly committed with the
  I2   ratification, knowledge, permission, encouragement, authorization and/or consent of each

  13   defendant designated as a DOE herein.

  14           9.     The true names and capacities, whether corporate, associate, individual or

  15   otherwise,   of defendant DOES 1 through 50, inclusive, are unknown to PLAINTIFF           who

  T6   sues said defendants by such fictitious names. PLAINTIFF is informed and believes, and

  17   based on that information and belief alleges, that each of the defendants designated as a DOE

  18   is legally responsible for the events and happenings referred to in this Complaint,         and

 I9    unlawfully caused the injuries and damages to PLAINTIFF as alleged in this Complaint.
 20    PLAINTIFF     will   seek leave of court to amend this Complaint to show the true names and

 21    capacities when the same have been ascertained.

 22                                     GENERAL ALLEGATIONS

 23            10.    PLAINTIFF incorporates by reference the allegations set for in Paragraphs      1



 24    through 9 above as though fully set forth herein.

 25            11.    On or around March of 2077, PLAINTIFF joined the board of the Tyler
 26    Clementi Foundation which purports to be an anti-bullying foundation.

 27            12.    On information and belief, JOHN ROE joined the board of Tyler Clementi
 28    Foundation around September 2017.

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                                                COMPLAINT
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   1          13.    On information and belief, PLAINTIFF and JOHN ROE met on or around

   2   November 2017.
   a
   J          14.    On or around November 25, 2017, JOHN ROE asks PLAINTIFF to              have

   4   dinner with him and a few friends the following Saturday. Reservations were made for

   5   December 2, 2077, at 8:00 p.m., at the Nerano Beverly Hills, located at 9960 S. Santa

   6   Monica Blvd, Beverly Hills, CA90212.

   7          15.    At around 10:00 p.m. on December 2,2017, JOHN ROE purchased a Lyft ride
   8   to show PLAINTIFF the hotel roof top at Sixty Beverly Hills, located at 9360 Wilshire
   9   Blvd., Beverly Hills, CA 90212. On the way to the hotel, JOHN ROE and PLAINTIFF
  i0   passed a Ferrari dealership, and JOHN ROE      told PLAINTIFF,   "I   could buy you one of

  11   those..." JOHN ROE and PLAINTIFF proceeded to JOHN ROE's hotel room where JOHN
  l2   ROE gave PLAINTIFF misidentified drugs without PLAINTIFF's consent which put
  13   PLAINTIFF into a state of unconsciousness and/or deprived PLAINTIFF of control over his

  14   mind and/or body. In or around the early hours of December 3,2077, without PLAINTIFF's

  15   consent, and while he is in and out of consciousness, JOHN ROE took PLAINTIFF's pants

  t6   off and began performing oral sex on PLAINTIFF. At one point, JOHN ROE          exclaimed,

  17   "my penis looks just like yours." JOHN ROE then stopped to get up and undress.
  18   PLAINTIFF used this opportunity to get up and try to leave the room. JOHN ROE blocked

  T9   the doorway and physically intimidated PLAINTIFF, but PLAINTIFF managed to push him

 20    aside and escape the hotel room.

 2l           16.    On or around December 4,2017, PLAINTIFF was forced to see and be near

 22    JOHN ROE at an anti-bullying rally.

 23           17.    On or around February 2018, PLAINTIFF was once against forced to see and

 24    be near JOHN ROE at a Tyler Clementi Foundation event.

 25           18.    On or around March 9,2078, PLAINTIFF called in sick to the board meeting

 26    in North Carolina because he was paralyzed by his anxiety and the thought of seeing JOHN
 27    ROE.

 28

                                                  1


                                              COMPLAINT
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   1           19.     PLAINTIFF reported JOHN ROE's unlawful and improper conduct to             the

   2   executive director of Tyler Clementi Foundation and asked that something be done. Tyler
   a
   J   Clementi Foundation, by and through its executive directors and officers, refused to take any

   4   corrective action and instructed PLAINTIFF to keep what happened to him private. On or

   5   around March 20,2018, PLAINTIFF informed Jason Cianciotto that he wants to exit the

   6   board because of JOHN ROE's unlawful and improper conduct towards him.

   7           20. On or around August 29, 2018, PLAINTIFF exits the Tyler Clementi
   8   Foundation board.

   9                                   FIRST CAUSE OF ACTION

  10                                             BATTERY
  11                                     (Against All Defendants)

  t2           21.     PLAINTIFF incorporates by reference the allegations contained in paragraphs

  13   1 through   20. and each and every part thereof with the same force and effect as though fully

  I4   set forth herein.

  15           22.     JOHN ROE committed a battery against PLAINTIFF. JOHN ROE touched

 T6    PLAINTIFF with the intent to harm or offend        him. PLAINTIFF did not consent to the
 I7    touching. PLAINTIFF was harmed and/or offended by JOHN ROE's conduct.                      On

 18    information and belief, a reasonable person in PLAINTIFF'S situation would have been

 I9    offended by the touching.

 20           23.      On information and belief, TYLER CLEMENTI FOUNDATION was aware

 2T    of JOHN ROE'S unfitness to be on the board, and/or aware of JOHN ROE's proclivity to
 22    subject other board members including PLAINTIFF to harm. On information and belief,

 z)    TYLER CLEMENTI FOUNDATION knew or should have known that JOHN ROE posed                     a

 24    serious risk   of harming PLAINTIFF. On information and belief, TYLER CLEMENTI
 25    FOLINDATION adopted, instructed, and/or otherwise ratified the wrongful acts of JOHN
 26    ROE against PLAINTIFF. TYLER CLEMENTI FOUNDATION is responsible for the
 27    actions of JOHN ROE because JOHN ROE is a board member andlor because JOHN ROE is

 28    TYLER CLEMENTI's agent acting within the scope of the agency relationship.
                                                      4
                                                COMPLAINT
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   1            24.      DEFENDANTS' wrongful acts and omissions actually, legally,                   and

  2    proximately caused PLAINTIFF'S damages. As a direct, foreseeable, and proximate result
  a
  J    of DEFENDANTS' misconduct, PLAINTIFF has suffered and will                   continue   to   suffer

  4    economic and non-economic damages, in a sum in excess of the jurisdictional limit of this

  5    Court, the exact amount of which is not yet known, which amount will be proven at the time

  6    of   trial.   PLAINTIFF claims such amounts as damages together with prejudgment interest

  7    pursuant to any provision of law providing for prejudgment interest.

  8             25.      The above described acts, by and through managing agents, officers, directors,

  9    and supervisory employees, were ratified, authorized, and engaged in with a deliberate,

 10    willful, cold, callous, fraudulent, and intentional manner in order to injure and        damage

 11    PLAINTIFF and/or with a conscious disregard of PLAINTIFF and his rights. Such acts were

 12    despicable, and constitute malice, fraud and/or oppression within the meaning of     Civil   Code

 13    section       3294.   PLAINTIFF requests an assessment          of   punitive damages against
 t4    DEFENDANTS, in an amount to be proven at time of trial.

 15                                     SECOND CAUSE OF ACTION

 I6                                                ASSAULT

 1l                                        (Against All Defendants)

 18             26.      PLAINTIFF incorporates by reference the allegations contained in paragraphs

 I9    1   through 25, and each and every part thereof with the same force and effect as though fully

 20    set forth herein.

 2l             27.      JOHN ROE assaulted PLAINTIFF. JOHN ROE acted, intending to                 cause

 22    harmful or offensive contact with PLAINTIFF. PLAINTIFF reasonably believed that he was

 ZJ    about to be touched      in a harmful or offensive manner. JOHN ROE         threatened to touch

 24    PLAINTIFF in a harmful or offensive manner. It reasonably appeared to PLAINTIFF that

 25    JOHN ROE was about to carry out the threat. PLAINTIFF did not consent to JOHN ROE'S

 26    conduct. PLAINTIFF was harmed. JOHN ROE'S conduct was a substantial factor in
 27    causing PLAINTIFF's harm.

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                                                  COMPLAINT
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   1            28.    On information and belief, TYLER CLEMENTI FOUNDATION was aware

  2    of JOHN ROE'S unfitness to be on the board, andlor aware of JOHN ROE's proclivity to
  J    subiect other board members including PLAINTIFF to harm. On information and belief,

  4    TYLER CLEMENTI FOUNDATION knew or should have known that JOHN ROE posed                       a

  5    serious risk   of harming PLAINTIFF. On information and belief, TYLER CLEMENTI
  6    FOUNDATION adopted, instructed, and/or otherwise ratified the wrongful acts of JOHN

  7    ROE against PLAINTIFF. TYLER CLEMENTI FOUNDATION is responsible for                         the

  8    actions of JOHN ROE because JOHN ROE is a board member andlor because JOHN ROE is

  9    TYLER CLEMENTI's agent acting within the scope of the agency relationship.

 10             29.   DEFENDANTS' wrongful acts and omissions actually, legally,                   and

 11    proximately caused PLAINTIFF'S damages. As a direct, foreseeable, and proximate result

 T2    of DEFENDANTS' misconduct, PLAINTIFF has suffered and will                continue to suffer

 t3    economic and non-economic damages, in a sum in excess of the jurisdictional limit of this

 I4    Court, the exact amount of which is not yet known, which amount will be proven at the time

 15    of   trial. PLAINTIFF claims such amounts as damages together with prejudgment        interest

 I6    pursuant to any provision of law providing for prejudgment interest.

 l7            30.    The above described acts, by and through managing agents, officers, directors,

 18    and supervisory employees, were ratified, authorized, and engaged in with a deliberate,

 19    willful, cold, callous, fraudulent, and intentional manner in order to injure and damage
 20    PLAINTIFF and/or with a conscious disregard of PLAINTIFF and his rights. Such acts were

 2l    despicable, and constitute malice, fraud andlor oppression within the meaning of   Civil   Code

 22    section   3294. PLAINTIFF requests an assessment of              punitive damages against
 23    DEFENDANTS, in an amount to be proven at time of trial.

 24                                   THIRD CAUSE OF ACTION
 25                                       SEXUAL BATTERY

 26                                      (Against All Defendants)

 2l            31.    PLAINTIFFS incorporate by reference the allegations contained in paragraphs

 28    1 through 30 and each and every part thereof   with the same force and effect as though fully
                                                      6
                                               COMPLAINT
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   1   set forth herein.

   2           32.     JOHN ROE committed a sexual battery on PLAINTIFF. JOHN ROE intended

   J   to cause a harmful or offensive contact with PLAINTIFF's sexual organ, anus, groin, andlor

   4   buttocks, and a sexually offensive contact with PLAINTIFF resulted, both directly and

   5   indirectly. JOHN ROE intended to cause a harmful or offensive contact with PLAINTIFF by
   6   use of JOHN ROE's sexual organs, anus, groin, andlor buttocks, and a sexually offensive

   7   contact with PLAINTIFF resulted, both directly and indirectly. JOHN ROE caused an

   8   imminent fear of a harmful or offensive contact with PLAINTIFF's sexual organs, anus,

   9   groin, andlor buttocks or PLAINTIFF by use of JOHN ROE's sexual organs, anus, groin,
  10   andlor buttocks, and a sexually offensive contact with PLAINTIFF resulted, both directly

  11   and indirectly. PLAINTIFF did not consent to the touching. PLAINTIFF was harmed or

  12   offended by DEFENDANT'S conduct.

  13           33.     On information and belief, TYLER CLEMENTI FOUNDATION was aware

  l4   of JOHN ROE'S unfitness to be on the board, and/or aware of JOHN ROE's proclivity to
  15   subject other board members including PLAINTIFF to harm. On information and belief,

  16   TYLER CLEMENTI FOLTNDATION knew or should have known that JOHN ROE posed                       a

  I7   serious risk   of harming PLAINTIFF. On information and belief, TYLER CLEMENTI
  18   FOUNDATION adopted, instructed, and/or otherwise ratified the wrongful acts of JOHN

  I9   ROE against PLAINTIFF. TYLER CLEMENTI FOUNDATION is responsible for the
  20   actions of JOHN ROE because JOHN ROE is a board member andlor because JOHN ROE is

  2I   TYLER CLEMENTI's agent acting within the scope of the agency relationship.

  22           34.    DEFENDANTS' wrongful acts and omissions actually, legally,                   and

  23   proximately caused PLAINTIFF'S damages. As a direct, foreseeable, and proximate result

  24   of   DEFENDANTS' misconduct, PLAINTIFF has suffered and                will   continue to suffer

  25   economic and non-economic damages, in a sum in excess of the jurisdictional limit of this

  26   Court, the exact amount of which is not yet known, which amount will be proven at the time

  27   of trial. PLAINTIFF claims such amounts as damages together with prejudgment interest
  28   pursuant to any provision of law providing for prejudgment interest.

                                                     7
                                               COMPLAINT
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   1            35.     The above described acts, by and through managing agents, officers, directors,

   2   and supervisory employees, were ratified, authorized, and engaged in with a deliberate,
   a
   J   willful, cold, callous, fraudulent, and intentional manner in order to injure and        damage

   4   PLAINTIFF and/or with a conscious disregard of PLAINTIFF and his rights. Such acts were

   5   despicable, and constitute malice, fraud and/or oppression within the meaning of Civil Code

   6   section    3294. PLAINTIFF requests an assessment of punitive damages                    against

   7   DEFENDANTS, in an amount to be proven at time of trial.

   8                                   FOURTH CAUSE OF ACTION
   9                                      FALSE IMPRISONMENT

  10                                       (Against All Defendants)

  11            36.     PLAINTIFF incorporates by reference the allegations set forth   in   Paragraphs

  T2   1   through 35 above as though fully set forth herein.

  l3            31.     PLAINTIFF was wrongfully restrained. confined, andlor detained by JOHN

  I4   ROE. JOHN ROE intentionally deprived PLAINTIFF of his freedom of movement by use of
  15   physical barriers, force, threats of force, menace, fraud, deceit, and unknown misidentified

  I6   drugs. The restraint, confinement, andlor detention compelled PLAINTIFF to stay or            go

  17   somewhere fbr some appreciable time. PLAINTIFF did not knowingly or voluntarily consent.

  18   PLAINTIFF was actually harmed. JOHN ROE'S conduct was a substantial factor in causing

  19   PLAINTIFF's harm.

  20            38.    On information and belief, TYLER CLEMENTI FOTINDATION was aware               of
 2I    JOHN ROE'S unfitness to be on the board, andlor aware of JOHN ROE's proclivity to subject

 22    other board members including PLAINTIFF to harm. On information and belief, TYLER

 23    CLEMENTI FOLTNDATION knew or should have known that JOHN ROE posed a serious
 24    risk of harming PLAINTIFF. On information and belief, TYLER                       CLEMENTI

 25    FOLINDATION adopted, instructed, andlor otherwise ratified the wrongful acts of JOHN ROE

 26    against PLAINTIFF. TYLER CLEMENTI FOUNDATION is responsible for the actions of

 27    JOHN ROE because JOHN ROE is a board member andlor because JOHN ROE is TYLER

 28    CLEMENTI's agent acting within the scope of the agency relationship.

                                                       8
                                                 COMPLAINT
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   1          39.     DEFENDANTS' wrongful acts and omissions actually, legally, and proximately

   2   caused PLAINTIFF'S damages.           As a direct, foreseeable, and proximate result of
   a
   J   DEFENDANTS' misconduct, PLAINTIFF has suffered and will continue to suffer economic

   4   and non-economic damages, in a sum in excess of the jurisdictional limit of this Court, the

   5   exact amount of which is not yet known, which amount       will be proven at the time of trial.
   6   PLAINTIFF claims such amounts as damages together with prejudgment interest pursuant to

   7   any provision of law providing for prejudgment interest.

   8          40.    The above described acts, by and through managing agents, officers, directors,

   9   and supervisory employees, were ratified, authorized, and engaged in with a deliberate,
  10   willful, cold, callous, fraudulent, and intentional manner in order to injure and damage
  11   PLAINTIFF and/or with a conscious disregard of PLAINTIFF and his rights. Such acts were

  12   despicable, and constitute malice, fraud andlor oppression within the meaning of Civil Code

  13   section   3294.    PLAINTIFF requests an assessment          of   punitive damages against
  I4   DEFENDANTS, in an amount to be proven at time of trial.

  15                                  FIFTH CAUSE OF ACTION
  T6                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
  17                                     (Against All Defendants)

  18          4L     PLAINTIFF incorporates by reference the allegations set forth in
  I9   Paragraphs   I through 40 above as though fully set forth herein.
  20          42.    JOHN ROE's conduct caused PLAINTIFF to suffer severe emotional distress.

  2T   JOHN ROE's conduct was outrageous. JOHN ROE intended to cause PLAINTIFF emotional

  22   distress or JOHN ROE acted with reckless disregard of the probability that PLAINTIFF would

  23   suffer emotional distress, knowing that PLAINTIFF was present when the conduct occurred.

  24   PLAINTIFF suflbred severe emotional distress. JOHN ROE's conduct was a substantial       f-actor

  25   in causing PLAINTIFF's severe emotional distress.

  26          43.    On information and belief, TYLER CLEMENTI FOLTNDATION was aware                of
 27    JOHN ROE'S unfitness to be on the board, andlor awate of JOHN ROE's proclivity to subject

 28    other board members including PLAINTIFF to harm. On information and belief, TYLER

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   1   CLEMENTI FOLINDATION knew or should have known that JOHN ROE posed a serious

   2   risk of harming PLAINTIFF. On inforrnation and belief, TYLER CLEMENTI
   J   FOTINDATION adopted, instructed, and/or otherwise ratified the wrongful acts of JOHN ROE

   4   against PLAINTIFF. TYLER CLEMENTI FOLTNDATION is responsible for the actions                 of
   5   JOHN ROE because JOHN ROE is a board member and/or because JOHN ROE is TYLER

   6   CLEMENTI's agent acting within the scope of the agency relationship.

   7          44.     DEFENDANTS' wrongful acts and omissions actually, legally, and proximately

   8   caused PLAINTIFF'S damages.           As a direct, foreseeable, and proximate result of
   9   DEFENDANTS' misconduct, PLAINTIFF has suffered and will continue to suffer economic

  10   and non-economic damages, in a sum in excess of the jurisdictional limit of this Court, the

  11   exact amount of which is not yet known, which amount       will be proven at the time of trial.
  T2   PLAINTIFF claims such amounts as damages together with prejudgment interest pursuant to

  13   any provision of law providing for prejudgment interest.

  t4          45.     The above described acts, by and through managing agents, officers, directors,

  15   and supervisory employees, were ratified, authonzed, and engaged in with a deliberate,
  t6   willful, cold, callous, fraudulent, and intentional manner in order to injure and      damage

  I7   PLAINTIFF andlor with a conscious disregard of PLAINTIFF and his rights. Such acts were

  18   despicable, and constitute malice, fraud andlor oppression within the meaning of Civil Code

  T9   section   3294.    PLAINTIFF requests an assessment          of punitive damages       against

  20   DEFENDANTS, in an amount to be proven at time of trial.

  2t                                  SIXTH CAUSE OF ACTION
  22                                          NEGLIGENCE

  23                                     (Against All Defendants)

  24          46.    PLAINTIFF incorporates by reference the allegations set forth in
  25   Paragraphs 1 through 45 above as though fully set forth herein.

  26          47.    DEFENDANTS were negligent. PLAINTIFF was harmed. DEFENDANTS'

  27   negligence was a substantial factor in causing PLAINTIFF's harm.

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                                                COMPLAINT
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   I          48.     DEFENDANTS failed to use reasonable care to prevent foreseeable harm to

   2   PLAINTIFF. DEFENDANTS were negligent            because their actions did not comport with what
   a
   J   a reasonably careful person   would have done under the same situation.

   4           49.    TYLER CLEMENTI FOLTNDATION allowed JOHN ROE to be on the board

   5   of the foundation. TYLER CLEMENTI FOUNDATION knew or should have known that
   6   JOHN ROE was unfit for the position and JOHN ROE's unfitness created a parlicular risk to

   l   others, including   PLAINTIFF. JOHN ROE's unfitness harmed PLAINTIFF. TYLER
   8   CLEMENTI FOUNDATION's negligence in retaining JOHN ROE was a substantial factor in

   9   causing PLAINTIFF's harm.

  10          50.     On information and belief, TYLER CLEMENTI FOLINDATION was aware of

  11   JOHN ROE'S unfitness to be on the board, andlor aware of JOHN ROE's proclivity to subject

  I2   other board members including PLAINTIFF to harm. On information and belief, TYLER

  13   CLEMENTI FOTINDATION knew or should have known that JOHN ROE posed a serious

  14   risk of harrning PLAINTIFF. On information and belief, TYLER                       CLEMENTI

  15   FOUNDATION adopted, instructed, and/or otherwise ratified the wrongful acts of JOHN ROE

  t6   against PLAINTIFF. TYLER CLEMENTI FOLTNDATION is responsible for the actions of

  17   JOHN ROE because JOHN ROE is a board member andlor because JOHN ROE is TYLER

  18   CLEMENTI's agent acting within the scope of the agency relationship.

  t9          51.     DEFENDANTS' wrongful acts and omissions actually, legally, and proximately

  20   caused PLAINTIFF'S damages.            As a direct, foreseeable, and proximate result of
  2I   DEFENDANTS' misconduct, PLAINTIFF has suffered and will continue to suffer economic

  22   and non-economic damages, in a sum in excess of the jurisdictional limit of this Court, the

  23   exact amount of which is not yet known, which amount        will be proven at the time of trial.
  24   PLAINTIFF claims such amounts as damages together with prejudgment interest pursuant to
  25   any provision of law providing for prejudgment interest.

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                                                 COMPLAINT
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   1                                        PRAYER FOR RELIEF

   2          WHEREFORE, PLAINTIFF prays for relief and judgment against DEFENDANTS
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   J   and those   fictitiously named defendants, jointly and severally, as follows:

   4                              AS TO THE FIRST CAUSE OF ACTION

   5          1        For special damages in an amount according to proof at time of trial;

   6         2         For general damages in an amount according to proof at time of trial;

   7          J        For prejudgment and post judgment interest as applicable per law;

   8         4         For costs of suit;

   9         5         For punitive damages; and,

  10         6         For such other and further relief as the Court may deem just and proper

  11                            AS TO THE SECOND CAUSE OF ACTION

  t2         7.        For special damages in an amount according to proof at time of trial;

  I3         8.        For general damages in an amount according to proof at time of trial;

  14         9.        For prejudgment and post judgment interest as applicable per law;

  15          10       For costs of suit;

  16         11        For punitive damages; and,

  I7         t2        For such other and further relief as the Court may deem just and proper

  18                             AS TO THE     THIRI) CAUSE OF ACTION
  19         13.       For special damages in an amount according to proof at time of trial;

  20         14.       For general damages in an amount according to proof at time of trial;

  21         15.       For prejudgment and post judgment interest as applicable per law;

  22         16.       For costs of suit;

  23         t7.       For punitive damages; and,

  24         18.       For such other and further relief as the Court may deem just and proper

  25                            AS TO THE FOURTH CAUSE OF ACTION

  26         I9        For special damages in an amount according to proof at time of trial;

  27         20        For general damages in an amount according to proof at time of trial;

  28         21        For prejudgment and post judgment interest as applicable per law;

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                                                 COMPLAINT
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   1         22    For costs of suit;

   2         23    For punitive damages; and,

   J         24    For such other and further relief as the Court may deem just and proper.

   4                         AS TO THE FIFTH CAIISE OF'ACTION

   5         25.   For special damages in an amount according to proof at time of trial;

   6         26.   For general damages in an amount according to proof at time of trial;

   1         27.   For prejudgment and post judgment interest as applicable per law;

   8         28.   For costs of suit;

   9         29.   For punitive damages; and,

  10         30.   For such other and further relief as the Court may deem just and proper

  11                         AS TO THE SIXTH CAUSE OF ACTION

  T2         31    For special damages in an amount according to proof at time of trial;

  13         32    For general damages in an amount according to proof at time of trial;

  l4         JJ    For prejudgment and post judgment interest as applicable per law;

  15         34    For costs of suit; and,

  16         35    For such other and further relief as the Court may deem just and proper

  I7   Dated: December 3,2019                          SCHIMMEL & PARKS
                                                       A Professional Law Corporation
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  19

  20                                                   Alan I. Schimmel
                                                       Michael W. Parks
  21
                                                       Arya Rhodes
  22                                                   Attorneys for PLAINTIFF

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                                             COMPLAINT
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   1                              DEMAND FOR JURY TRIAL

   2          PLAINTIFF, hereby demands a trial by jury for the causes of action and claims
   J   asserted herein.

   4                                                 SCHIMMEL & PARKS
       Dated: December 3,2019
                                                     A Professional Law Corporation
   5

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   7                                                 Alan L Schimmel
                                                     Michael W. Parks
   8
                                                     Arya Rhodes
   9
                                                     Att orneys for PLAINTIFFS

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